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UNITED STATES DIS'I`RICT COURT
DISTRICT OF MASSACHUSETTS

 

Kimberly Burke,

Plaintiff, = civil Action No.:
V_ l

Universai Fidelity, LP,

Defendant.

 

COMPLAINT
For this Complaint, the Plaintiff, Kimberly Burke, by undersigned counsel, states as
follows:

JURISDICTION

l. 'i`his action arises out of Defendant’s repeated violations of the Fair Debt
Collections Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’ s personal
privacy by the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that Defendant
transacts business here and a substantial portion of the acts giving rise to this action occurred
here.

PARTIES

3. Plaintiff, Kimberly Burke (hereafter “Plaintiff’), is an adult individual residing at

l2 Johnson Road, Saugus, Massachusetts 01906, and is a “consumer” as the term is defined by

15 U.s.C. § 1692&(3).

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4. Defendant, Universal Fidelity, LP (hereafter “Defendant”), is a foreign limited
partnership located at 1445 Langham Creek Drive, Houston, Texas 77084, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

5. 'i`he names of the individual collectors are unknown but they will be added by

amendment when determined through discovery.

FACTUAL ALLEGA'I`IONS

6. Plaintiff incurred a financial obligation that was primarily for famiiy, personal or

household purposes, and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

7. Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Piaintiff.

8. The Defendant then began attempts to collect this debt from the Plaintiff, which

was a “communication” as defined in 15 U.S.C. § 1692a(2).
9. The Defendant harassed the Plaintiff by calling on a daily basis.

10. The Defendant called the Plaintiff as early as 6 a.m. in the morning on a Sunday,

without having consent from the Plaintiff to call at such an hour.

ll. The Defendant threatened the Plaintiff repeatedly, threatening to send her to jail

and to send the sheriff over to pick her up.

12. The Defendant accused the Plaintiff of “stealing,” telling her that by not paying

the debt she was committing a crime.

13. The Plaintiff has repeatedly asked for validation of the debt and for the name of

the original creditor, but the Defendant has refused to provide such information

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14. To date, the Plaintiff is not even sure where the debt originated, who she allegedly

owes money to, and in what amount

15. The Plaintiff has suffered actual damages as a result of these illegal collection
communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,
embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy at the Plaintiff`s home.

COUNT I

vroLATroNs or THE FAIR DEBT coLLECTIoN PRActhr:s ACT
15 U.s.C. § 1692, er seq.

16. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

17. The Defendant contacted the Plaintiff at a place and during a time known to be

inconvenient for the Plaintiff, in violation of 15 U.S.C. § 1692c(a)(l).

18. The Defendant contacted the Plaintiff before 8:00 a.m., in violation of 15 U.S.C. §
1692c(a)(1).

19. The Defendant used profane and abusive language when speaking with the

consuiner, in violation of 15 U.S.C. § 1692d(2).

20. The Defendant caused a phone to ring repeatedly and engaged the Plaintiff in
telephone conversations, with the intent to annoy and harass, in violation of 15 U.S.C. §

1692d(5).

21. The Defendant misrepresented the character, amount and legal status of the debt,

in violation of15 U.S.C. § 1692e(2).

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22. The Defendant threatened the Plaintiff with imprisonment if the debt was not

paid, in violation of 15 U.S.C. § l692e(4).

23. The Defendant threatened to take legal action, without having a legal right to do

so, in violation of 15 U.S.C. § 1692€(5).

24. The Defendant falsely misrepresented that the Plaintiff had committed a crime, in

order to disgrace the Piaintiff, in violation of 15 U.S.C. § 1692e(7).

25. The Defendant employed false and deceptive means to collect a debt, in violation

of 15 U.S.C. § 1692e(l()).

26. The Defendant attempted to collect an amount not authorized by the agreement

creating the debt, in violation of 15 U.S.C. § 1692f(1).

27. The Defendant failed to send the Piaintiff a validation notice stating the amount of

the debt, in violation of 15 U.S.C. § l692g(a)(1).

28. The Defendant failed to send the Plaintiff a validation notice stating the name of

the original creditor to whom the debt was owed, in violation of 15 U.S.C. § 1692g(a)(2).

29. l The Defendant failed to send the Plaintiff a validation notice stating the Plaintiff's

right to dispute the debt within thirty days, in violation of 15 U.S.C. § 1692g(a)(3).

30. The Defendant failed to send the Plaintiff a validation notice informing the
Plaintiff of a right to have verification and judgment mailed to the Plaintiff, in violation of 15

U.s.c. § 1692§(3)(4).

31. The Defendant failed to send the Plaintiff a validation notice containing the name

and address of the original creditor, in violation of 15 U.S.C. § 1692g(a)(5).

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32. The Defendant continued collection efforts even though the debt had not been

validated, in violation of 15 U.S.C. § 1692g(b).

33. The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions
34. The Plaintiff is entitled to damages as a result of Defendant’s violations

COUNT II

VIOLATION OF THE MASSACHUSETTS CONSUMER PRO'I`ECTION AC'I`,
M.G.L. c. 93A § 2, et seq.

35. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

36. The Defendant employed unfair or deceptive acts to collect the debt, in violation

OrM.c.L. c. 93A § 2.

37. Defendant’s failure to comply with these provisions constitutes an unfair or
deceptive act under M.G.L. c. 93A § ll and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

COUNT III
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
38. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

39. The Restatemem ofTorrs, Secomi, § 652(b) defines intrusion upon seclusion as,
“One who intentionally intrudes. . .upon the solitude or seclusion of another, or his private affairs
or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

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40. Massachusetts further recognizes the Plaintiff’ s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

41. Defendant intentionally intruded upon Plaintiff’s right to privacy by continually

harassing Plaintiff with frequent telephone calls early in the morning

42. The telephone calls made by Defendant to Plaintiff were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial
burden to his existence,” thus satisfying the Restatement of T orfs, Second, § 652(b) requirement

for an invasion of privacy.

43. The conduct of the Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person

44. As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendant.

45. All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendant:
l. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;
2. Statutoiy damages of $1,000.00 for each violation pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendant;
3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

l692k(a)(3) against Defendant;

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4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.i_,.
c. 93A § 3(A)',

5. Actual damages from Defendant for the all damages including emotional
distress suffered as a result of the intentional, recl<less, and/or negligent
FDCPA violations and intentional, reckless, and/or negligent invasions of
privacy in an amount to be determined at trial for Plaintiff;

6. Punitive damage; and

7. Such other and further relief as may be just and proper.

TRIAL BY .]URY DEMANDED ON ALL COUNTS
Dated: April S, 2009

Respectful b1 ' ed,

 

 

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B.B.O. No. 650671

